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                        Exhibit B

                      Disbursements
                                 Case 22-11068-JTD Detail
                                                      Doc    24025-3
                                                          Cost              Filed
                                                               Task Code Billing    08/29/24
                                                                                 Report                   Page 2 of 2              Page: 1
                                                             Landis Rath & Cobb LLP

                         Trans
          Client          Date        Rate      Units      Amount
Activity ID E101 Inhouse Copying
       1368.002    07/01/2024        0.100     299.00        29.90 Inhouse Copying
       1368.002    07/02/2024        0.100     196.00        19.60 Inhouse Copying
       1368.002    07/03/2024        0.100      48.00         4.80 Inhouse Copying
       1368.002    07/05/2024        0.100      32.00         3.20 Inhouse Copying
       1368.002    07/08/2024        0.100   2,601.00       260.10 Inhouse Copying
       1368.002    07/09/2024        0.100     627.00        62.70 Inhouse Copying
       1368.002    07/10/2024        0.100      13.00         1.30 Inhouse Copying
       1368.002    07/11/2024        0.100      38.00         3.80 Inhouse Copying
       1368.002    07/12/2024        0.100      35.00         3.50 Inhouse Copying
       1368.002    07/15/2024        0.100     340.00        34.00 Inhouse Copying
       1368.002    07/18/2024        0.100      43.00         4.30 Inhouse Copying
       1368.002    07/19/2024        0.100      14.00         1.40 Inhouse Copying
       1368.002    07/22/2024        0.100     242.00        24.20 Inhouse Copying
       1368.002    07/24/2024        0.100     680.00        68.00 Inhouse Copying
       1368.002    07/25/2024        0.100     436.00        43.60 Inhouse Copying
       1368.002    07/29/2024        0.100     664.00        66.40 Inhouse Copying
       1368.002    07/30/2024        0.100     390.00        39.00 Inhouse Copying

Total for Activity ID E101                    Billable      669.80 Inhouse Copying

Activity ID E102 Outside printing
       1368.002    07/01/2024                             3,635.80 Outside printing Parcels, Inc. - Invoice 1090586

Total for Activity ID E102                    Billable    3,635.80 Outside printing

Activity ID E106 Online research
       1368.002    07/31/2024                             1,823.60 Online research Relx Inc. DBA LexisNexis - Invoice 3095231284

Total for Activity ID E106                    Billable    1,823.60 Online research

Activity ID E111 Meals
       1368.002   07/01/2024                                 68.91 Meals DiMeo's Pizza - KAB, GAW, CRW working dinner
       1368.002   07/05/2024                                 34.00 Meals Chelsea Tavern - GAW and JLF working dinner

Total for Activity ID E111                    Billable      102.91 Meals

Activity ID E208 Document Retrieval
       1368.002    07/31/2024                                66.90 Docket Retrieval - PACER July

Total for Activity ID E208                    Billable       66.90 Document Retrieval

                                                                GRAND TOTALS

                                              Billable    6,299.01
